                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF VERMONT



UNITED STATES OF AMERICA                             )
                                                     )
               v.                                    )       No. 2:22-cr-0059
                                                     )
                                                     )       EX PARTE
CHRISTOPHER EMMONS,                                  )
          Defendant.                                 )       UNDER SEAL


  GOVERNMENT’S MOTION FOR REVOCATION OF CONDITIONS OF RELEASE

       The United States of America, by and through its attorney, Nikolas P. Kerest, United

States Attorney for the District of Vermont, moves to revoke the defendant’s pretrial release

pursuant to 18 U.S.C. § 3148, and requests that the Court issue a warrant for the defendant’s

arrest and schedule a hearing to determine whether revocation is appropriate.

       On September 22, 2022, the Government received a violation report from the U.S.

Probation Office concerning the defendant. The violation report alleges that the defendant

violated his conditions of release, specifically Condition 7(m), by: using cocaine as evidenced by

three positive sweat patches, which were worn by the defendant from August 24 to August 31,

2022, August 31 to September 7, 2022, and September 7 to September 14, 2022, respectively.

Each sweat patch result was positive for cocaine metabolite. Accordingly, the government

submits there is clear and convincing evidence that the defendant has violated his release

conditions, and requests that the Court issue an arrest warrant for the defendant so that he may be

brought promptly before the Court to show cause as to why his conditions of release should not

be revoked. The government also moves the Court to seal this motion and any related order, the


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arrest warrant, and all corresponding docket entries until the defendant’s arrest to prevent his

flight and to protect the arresting officers.

        Dated at Burlington, in the District of Vermont, this 28th day of September 2022.


                                                              Respectfully submitted,

                                                              UNITED STATES OF AMERICA

                                                              NIKOLAS P. KEREST
                                                              United States Attorney


                                                      By:     /s/ Andrew C. Gilman__
                                                              Andrew C. Gilman
                                                              Assistant U.S. Attorney
                                                              P.O. Box 570
                                                              Burlington, VT 05402
                                                              (802) 951-6725
                                                              Andrew.Gilman2@usdoj.gov




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